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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
            vs.                          )                8:04CR302
                                         )
JAVIER CRUZ-NARANJO,                     )         SCHEDULING ORDER
                                         )
                   Defendant.            )


       IT IS ORDERED that the following is set for hearing on April 22, 2005 at
10:00 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

      - Motion to Withdraw as Counsel [118]

     Since this is a criminal case, the defendant must be present, unless
excused by the Court. An interpreter will be provided by the Court.

      DATED this 21st day of April, 2005.

                                       BY THE COURT:


                                       s/ F.A. Gossett
                                       United States Magistrate Judge
